Case 2:22-cv-03455-RBS Document6 Filed 09/27/22 Page 1of9

inthe UNITED STATES COURT

EASTERN DISTRICT OF PENNSYLVANIA

HENRY GRAJALES-EL

Plaintiff, PROSE

Vs. Case# 22-CV-3455

AMAZON Logistics Inc.

Defendant.

CERTIFICATE OF SERVICE OF LEGAL PAPERS OTHER THAN ORIGINAL PROCESS

|, Natalya Gasova, mailed copies of Plaintiff's documents in this matte; | certify that copies of following documents

1. AMENDED CIVIL COMPLAINT PURSUANT TO RULE 15

were serviced BY first class mail,

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In The UNITED STATES COURT
EASTERN DISTRICT OF PENNSYLVANIA

HENRY GRAJALES-EL
Plaintiff, PRO SE

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Vs. Case# 22-CV-3455
AMENDED
COMPLAINT
RULE 15
AMAZON Logistics Inc.
Defendant.
FORWARD
an Plaintiff moves to AMEND the complain under RULE 15 to address some of the issues

Defendants attorney brought to attention in their Notice of Removal. There was also another
matter that came up in this honorable courts Notice of Guidelines for ‘representing yourself,

regarding Pro Se’ and Class Actions.
4. The correct Defendant is Amazon Logistics Inc., “*MAZON”. not Amazon Prime.

pb. A miss understanding in the complaint filed with Lancaster, Pennsylvania Court of
Common Pleas needs to be addressed...’missing info ona mid-sentence statement”. This was miss

print.
c. Plaintiff is adjusting the Demand amount form $10,000,000,000.00 to $500,000,000.00.

A PRO SE Plaintiff can not enter a CLASS as part of this action.

JURISDICTION

Z- Plaintiff agrees a Diversity of Citizenship exist, and that the Demand amount exceeds
$75.000. The US. Eastern District Court is the correct venue to adjudicate this case, do to the fact

- that the Defendant is not a citizen of Pennsylvania, and that the actions made against the Plaintiff
in this Amended Complaint happened at Amazon Logistics Inc. DPH-7 addressed at 10 Industrial
Rd, Elizabethtown, Lancaster county, Pennsylvania 17022. Across State lines.

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CLAIM

‘

3. AMAZON produced a document that. defamed Plaintiff's’ reputation. The document made a
lot of accusations against the Plaintiff, one accusation found proven to be clearly false. With this
false documentation, Amazon tried to have the Plaintiff, Henry Grajales-EL, terminated by his
employer. Termination didn’t work, because Plaintiff was not an employee of AMAZON. So,
AMAZON subjugated the Plaintiff to an unmerited corrective disciplinary action, that had
undisclosed harmful adverse mental effects that Plaintiff suffered. And he was never
compensated for his time spent in corrective action. No consideration was afforded to the
Plaintiff’s disabilities issues. And still to this day AMAZON has not even issued an apology.

4. On April 29, 2020 Amazon OTR Safety lead submitted a report to TAC Delivery regarding
Plaintiff, Henry Grajales-EL. This documented report lead to a disciplinary action against Henry .
Grajales-EL. See Attached “Exhibit A’, is a copy of said report. In this report, many claims were
made against the defendant, without solid proof. “Speeding”... Was one of the FALSE claims made
against the Plaintiff, Henry Grajales-EL.

5. According to the e-Mentor service that Amazon uses to monitor its drivers. It was
documented on 29% April 2020, starting at the logging time of 6:49am, till the end of the day
when Plaintiff logged out that he was NOT SPEEDING. See attached EXHIBIT “RB” Plaintiff took
the time out on a work break to research his e-Mentor history. This exhibit “B” is a cell phone
screen shot taken during a work preak at 11:35am shortly after Amazon's e-Mentor driving
monitoring app completed its driving assessment for the date for 29" April 2020.

6. Plaintiff, Henry Grajales-EL is registered as a worker with disabilities in the state of
Pennsylvania. On the morning of 29 April 2020, the Plaintiff, Henry Grajales-EL did declare to his
supervisor that he was very ll due to diabetic issues. Plaintiff was given a choice...decided he will
keep it moving at work. During the entire day he was repeatedly stopping his deliveries to vomit
on the side of the road and clean himself up from defecating.on himself.

7. None of this information regarding plaintiffs disabilities or the e-Mentor report was able to
pe represented in defense of the Plaintiff, because Amazon Logistics Inc. has no established
disciplinary protocols put in place for delivery drivers to protect their human rights to object or

defend oneself against any accusations. There is no right to defend oneself or be heard before a
verdict is rendered that leads to disciplinary corrective actions.

8. Without any kind of a fair impartial investigation or mediation allowed. Amazon took
“what seem to be malicious actions” against the Plaintiff, Henry Grajales-EL, to have him
terminated. Termination was rejected by TAC Delivery. Instead, without Plaintiffs consent and
knowledge, Henry Grajales-EL, was forced into an UNMERITED disciplinary corrective action,
where he was not compensated for his time, made sick with headache and vomiting; Plus,

Plaintiff suffered a Post-Traumatic Stress break down.

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9. - ‘The disciplinary/ corrective action violated The plaintiff Henry Grajales-EL human rights.

1 and unusual disciplinary methods as punishments, which were

Plaintiff was subject to crue
deliberately designed to cause harmful adverse mental effects. As a result of this cruel and
dizziness, vomiting

unusual method of discipline; Plaintiff, Henry Grajales-EL suffered headaches,
and it triggered issues with Plaintiffs Post-Traumatic Stress Disorder.

10. Plaintiff Henry Grajales-EL was discriminated against. Amazon deliberately ignored
tal issues.

Plaintiffs issues with his physical disabilities in relation to Diabetes and men

jury demanded

11. Request for trial by Jury is demanded.

COMPENSATION

12 Plaintiff, Henry Grajales-EL, request an award in the amount of $5 90,000,000.00.

28 U.S. Code:§1746

40 UV)

13. The Plaintiff, Henry Grajales-EL, declares the forgoing, along with the two exhibits
attached with this complaint, as true and correct to the best for his knowledge. All stated above is

declared under the penalties of perjury on the date noted below.

C

Signed:

     

 

Plaintiff,

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EXHIBIT A

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Ex

Wednesday April 29, 2020
—TACD-
Driver: Henry Grajales-Et

Route: CX37 (York County, York, Pa)

i met up with Henry executing his route at 10:57am on his 61* stop of RT CX37 located at 2784
MEADOW CROSS WAY. I followed Henry as he delivered at several stops to observe his delivery
behavioral habits. I observed from. my personal vehicle at an approx. distance of 120 feet while parked
behind multiple cars along the right side of the road (when possible) in the Meadow Crossings Home
Development. This is a very nice neighborhood consisting of custom homes starting in the $350,000
range plus. Most homes are on ¥, acre lots with a pristine sidewalk around the neighborhood. | observed
young children out playing in driveways, walking dogs and older children on bicycles as well as adults

walking.

p on Henry he was making his delivery at the customer’s.door. The branded van was

ite side of the road facing oncoming traffic, idling with no hazard lights on. Henry

p around the loop making deliveries while driving on the OPPOSITE side of the road
ts on. He repeatedly left the driver's side door open while delivering. I drove

f Meadow Cross Way and parked behind a BMW where I observed Henry

oming down towards me on the correct side of the road (still no hazard lights). He passed his
stop, reversed 50 feet, left the van idling with no hazards and the driver’s door hanging open into the

street while delivering at this stop. Henry pulled up to the intersection to make a delivery to a home on
the comer. Here, Henry stopped the branded van on the opposite side of the road partially in the
intersection, side sliding door open facing | riddle of the intersection while making a delivery
rty on the driver’s side. He di ave the hazard lights on and walked through this

ng the package he lifted up his shirt and wiped his face. H
0 the bottom of the hill to make another delivery

t L was in contact with Amanda Glenn and I retumed to the station. See attached photos

 

 
 

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EXHIBIT B

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EX6B

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